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VIA EMAIL (Lehrburger_ NYSDChambers@nysd.uscourts.gov)

Honorable Robert W. Lehrburger, U.S.M.J.
U.S. District Court of New York

United States Courthouse

500 Pearl Street,

New York, NY 10007

Re: Michael Dardashtian, et al. v. David Gitman, et al.
17-cv-4327

Dear Judge Lehrburger:

We write to respectfully request a short adjournment of our next scheduled settlement
conference of October 23, 2018 as Plaintiff's counsel will be out of the country on that date. If
acceptable to the Court, the parties are available November 5", 6"" and 7". Defendant has no
objection to this request, however Mr. Gitman asks to be permitted to participate by telephone as
he currently resides out-of-state.

If additional dates are required or if Your Honor requires anything further in connection
with this request, kindly so advise.

Thank you for Your Honor’s assistance with this matter.

 

Cc: | Mark Meredith, Esq.
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